         Case 1:18-cv-02841-RMC Document 39 Filed 10/21/19 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________
                                      )
AMERICAN HOSPITAL                     )
ASSOCIATION, et al.,                  )
                                      )
              Plaintiffs,             )
                                      )
       v.                             )    Civil Action No. 18-2841 (RMC)
                                      )
ALEX M. AZAR II,                      )
Secretary of the Department of Health )
and Human Services,                   )
                                      )
              Defendant.              )
__________________________________ )

                                            ORDER

               For the reasons in the Memorandum Opinion issued contemporaneously with this

Order, it is hereby

               ORDERED that Defendant’s Motion to Modify Order, Dkt. 33, is DENIED.

               This is a final appealable Order. See Fed. R. App. P. 4. This case is closed.



Date: October 21, 2019
                                                            ROSEMARY M. COLLYER
                                                            United States District Judge




                                                1
